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UNITED STATES DISTRICT COUR ne:
FOR THE DISTRICT OF MASSACHUS +43 “8 P i259

IN RE: PHARMACEUTICAL INDUSTRY AVERAGE MDL No. 1456
WHOLESALE PRICE LITIGATION C.A. No. 01-12257-PBS

THIS DOCUMENT RELATES TO:

O1-CV-12257-PBS and 01-CV-339 Judge Patti B. Saris

MEMORANDUM OF THE ATTORNEY GENERAL
OF THE COMMONWEALTH OF PENNSYLVANIA
IN OPPOSITION TO CLASS CERTIFICATION

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MEMORANDUM OF THE ATTORNEY GENERAL
OF THE COMMONWEALTH OF PENNSYLVANIA
IN OPPOSITION TO CLASS CERTIFICATION'

As the Defendants have pointed out in their opposition papers, MDL Plaintiff Counsel seek
certification of two massive classes and one subclass of more than 200 million persons and 10,000
corporate entities relating to 136 prescription drugs manufactured by the five Track 1 Defendants.’
These sprawling classes include patients located throughout the country, including Pennsylvania and
the Joinder States. However, because Pennsylvania and certain Joinder States have instituted
lawsuits against Track 1 Defendants for themselves and their citizens,’ the patient-consumers in
these states are more than adequately represented by the State Attorneys General and they have the

benefit ofa superior litigation device for the adjudication of their claims -- Ze. prosecution by the

State’s highest judicial officer who is charged with the duty to protect consumer interests in

This Memorandum is filed by the Attorney General of the Commonwealth of Pennsylvania
who presently has claims in state court against all of the Track 1 Defendants [hereinafter
“Pennsylvania”]. Although the Court in Pennsylvania recently dismissed Pennsylvania’s claims
without prejudice for lack of specificity, Pennsylvania intends to file its amended pleading shortly
afier the hearing on MDL Plaintiffs’ Motion for Class Certification. Pennsylvania is joined in this
Memorandum in Opposition by the Attorneys General of certain other States who either (1) have
pending lawsuits against drug companies (including Track 1 Defendants) relating to fraudulent
marketing and sales practices revolving around the inflation and promotion of Average Wholesale
Price (“AWP”), and/or (2) have pending investigations relating to the same practices, and thus have
an interest in assuring that their rights, and the rights of the citizens of their states, are fairly
represented in litigation (even though litigation has not yet ensued) [these States are collectively
referred to herein as the “Joinder States”). These Joinder States have filed separately with the Court
“Stipulations of Joinder” in the instant Memorandum.

; The Track 1 Defendants consist of: the AstraZeneca Group, the BMS Group, SmithKline
Beecham Corporation, d/b/a GlaxoSmithKline, the Johnson & Johnson Group, and the Schering-
Plough Group.

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Attached hereto as Exhibit “A” is demonstrative map of the States who have pending AWP
lawsuits. A listing of the pending state court actions being prosecuted by the State Attorneys General
and the defendants is attached hereto as Exhibit “B.”

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litigation. In view the prior pending and procedurally-advanced Attorney General cases, and to avoid
“the unseemly prospect of two distinct representatives vying for members to join their respective
groups,” Pennsylvania respectfully submits this Memorandum in Opposition to ensure that this
Court preserves and protects the rights of the State Attorneys General to proceed with their cases.
The legal right of the Attormeys General to protect their citizens unimpeded by class action attorneys
is manifest:

..In a situation such as the present here, where the Attorney General

has exercised his authority under [the law] and filed a parens patriae

action, there is simply no reason or authority for allowing coextensive

representation by private parties. The purens putriae action ts plainly

superior to the class action as a mode for adjudication of collective

claims. A clear indication of this is the lack of any provision or

requirement for court approval or certification of a parens patriae

action.
fd. (citations omitted); see also McLaughlin v. Liberty Mutual Ins. Co., 224 F.R.D, 304, 312 (D.
Mass. 2004) (“Some federal courts have denied class certification where the state Attorneys General
had, in fact, brought a claim on behalf of the consumers in the state.”) (citations omitted)).

The unexplained refusal of MDL Plaintiff Counsel to accede to the primary authority of the

State Attorneys General to represent the citizens of their respective states unfortunately forces this
Court to weigh in on the matter. MDL Plaintiff Counsel’s desire to supplant the preferred

representation by the Attorneys General seems to be driven, not by their clients’ interests in

adequately representing the members of the proposes classes who reside in either Pennsylvania or

‘ in Re Montgomery County Real Estate Antitrust Litig; 1988 W1125789 (D.Md. 1988) at *2.

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the Joinder States (since no individual representative plaintiff resides in any such state), but by their
desires to expand the geographic scope of their AWP litigation.”

Their desires notwithstanding, MDL PlaintiffCounsel’s unwillingness to yield to the primary
right and interest of the Attorneys General warrants this Court’s closer scrutiny of two prerequisites
to class certification: (1) the adequacy of the proffered representation of the Classes pursuant to
Rules 23(a)(4) and 23(g), and (2) the overall superiority of the class action device pursuant to Rule
23(b}(3) in light of the pending Attorney General cases. As set forth more fully herein, Pennsylvania
respectfully submits that the three (3) proposed nationwide classes should not be certified because
the citizens of Pennsylvania and the Joinder States are already adequately represented by their
respective Attorneys General who have brought superior parens patriae actions or other statutory

claims on behalf of consumers in the state courts. For these reasons, Pennsylvania and the Joinder

° Such a conclusion can only be drawn from an objective view of the situation. First, MDL
Plaintiff Counsel have determined to press forward will their goal to assert control over all consumer
claims throughout the country, including those consumers who reside in Pennsylvania and Joinder
States for which the Attorneys General already have acted to protect their citizens. Second, curiously
absent from the class certification papers of MDL Plaintiff Counsel — some of which have been
retained by two States, Nevada and Montana — is any proposal for a carve-out from the proposed
classes for the parens patriae claims of the State Attorneys General, or any discussion of the
unambiguous legal precedents cited herein which demonstrate that the State Attorneys General, suing
parens pairiae or otherwise for their citizens, are both the most “adequate” plaintiffs [under Rule
23(a)(4)] and provide the most “superior” avenue for the litigation [under Rule 23(b)(3)]. Third,
MDL Plaintiff Counsel have simply chosen to abandon the claims for declaratory and injunctive
relicf on behalf of the consumers nationwide, which would provide widespread relief to all
consumers, in favor of certification of only Rule 23(b)(3) damages classes. As the discussion below
amply demonstrates, since one of the primary goals of the AWP lawsuits instituted by the Attorneys
General is elfectuating a complete cessation of and change in the unlawful marketing and sales
practices of the drug companies, this distinguishing feature of the Attorney General cases now takes
on heightened importance for this Court’s determinations of both “adequacy” and “superiority.”
Lastly, MDL Plaintiff Counsel submitted to this Court a proposed form of Case Management Order,
CMO No. 10, which precludes any defendant from even discussing settlement of consumer claims
with the State Attorneys General unless and until prior notice is provided to them and the approval
of this Court is obtained.
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States respectfully submit that this Court should reject the application for nationwide class
certification or, ata minimum, it should restrict the geographic scope of the proposed Classes to only
those states which presently lack any Attorney General representation, reserving decision on any
further modifications to the geographic scope of the proposed Classes until the States conclude their

respective Investigations.

I. BACKGROUND OF ATTORNEY GENERAL INVESTIGATIONS AND
PROSECUTIONS OF THE DRUG INDUSTRY.

Long before there was this MDL 1456, or any civil litigation in state or federal court for that
matter, Attorneys General throughout the country were actively engaged in both criminal and civil
investigations into unlawful marketing and sales practices by the drug industry, including the
unlawful inflation and promotion of Average Wholesale Price (or “AWP”). See “Special Report:
States Mull Suit Against Drug Companies” attached hereto as Exhibit “C”. By early 2001, members
ofthe National Association of Attomeys General (“NAAG’”) had convened a special Pharmaceutical
Pricing Task Force (“PPTF’’) to investigate unlawful marketing and sales practices in the drug
industry, among other things. Pennsylvania joined as a co-convenor tn PPTF. In fulfilling its
mission, the members of the NAAG worked with the United States Department of Justice (“DOJ”),
ihe United States Attorneys of several states, and the National Association of Medicaid Fraud
Controt Units (“NAMFCU”) to complete the criminal and civil investigations of marketing and sales
practices in the drug industry already underway, and to initiate new ones.

The first milestone in this effort was the consummation of a national civil settlement with
Bayer Corporation in January 2001. While the Bayer settlement netted $14 million for the federal

government and the states, more importantly, it obtained several concessions from Bayer, including
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a model Corporate Integrity Agreement (“CIA”), as well as substantial documentary evidence of
unlawful marketing and sales practices in the drug industry. As evidenced by their complaints, both
the Bayer settlement and the evidence developed by the investigation of Bayer became a predicate
for the initial civil filings of AWP cases by MDL Plaintiff Counsel.

The Bayer settlement was followed by the criminal indictments of and guilty pleas and/or
civil settlements between the federal and state governments and TAP Pharmaceutical Products, Inc.
(“TAP”), GlaxoSmithKline, Pfizer, Inc., and AstraZeneca. All of these investigations had an AWP
component, even though they were resolved on other grounds.

Each of the fifty states — working by and through their Attorneys General in conjunction with
their national organizations, NAAG and NAMFCU -— have been involved in some measure in the
investigations and prosecutions, and in full measure in the resolutions, with each of the States
signing their own settlement agreements with these drug companies and sharing in the settlement
proceeds, Significantly, these agreements expressly reserved to the States (and their consumers) the
right to bring and prosecute civil cases for further damages arising out of the fraudulent conduct that
was the subject of the investigations and settlements, as well as other unlawful conduct. The
criminal and civil investigations of unlawful pricing, marketing and sales practices continue, both
on the local scale (with individual States issuing Civil Investigative Demands, collecting evidence,
and interviewing witnesses) and on the national level (by and through NAAG, NAMFCU, DOJ and
the United States Attorneys). Consequently, both Pennsylvania and the Joinder States (as well as
States who have not yet sued) have a keen interest in ensuring that their investigations on behalf of
their respective States and their citizens can be concluded without interference from the civil class

action lawyers.
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I]. ARGUMENT

A. PREMARY RIGHTS OF THE STATE ATTORNEYS GENERAL TO PROCEED PARENS
PATRIAE OR OTHERWISE ON BEHALF OF THEIR CITIZENS

As noted previously, Pennsylvania and other States, by and through their Offices of the
Attorney General, filed claims against the drug companies both in their proprietary capacities, as the
exclusive judicial officer with the authority to represent state government agencies for their losses
suffered as a result of the Defendants’ conduct, and also in the parens patriae and/or statutorily
authorized capacity to represent the citizens of their respective states in this litigation. While it
appears that MDL Plaintiff Counsel are not seeking by their petition for class certification to
represent state agencies, which would not be permissible,® they are seeking to exert coextensive
control over the citizens of the states for whom the Attorneys General have already acted.
Consequently, by their petition for nationwide class certification which includes states where
Attorneys General have sued already, MDL Plaintiff Counsel are seeking to challenge the right to
proceed on behalf of their citizens, unimpeded by class action litigation. Whether States are
proceeding pursuant lo parens patriae or statutory authority on behalf of their citizens, the law is
clear that the class action litigation device must yield to the Attorney General lawsuits.

1. The General Rights of the State Attorneys General to Proceed Parens
Patriae.

The parens patriae rights of the State Attorneys General trace their roots to English common

law wherein some of the King’s royal powers were exercised in his capacity as “father of the

° Both the Tenth Amendment to the United States Constitution and enabling state statutes

throughout the country, expressly reserve to the states the power to proceed in litigation on behalf
of their State and its agencies. For instance, in Pennsylvania, the Commonwealth Attorneys Act
gives the Attorney General the exclusive authority to represent Commonwealth agencies.

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country.”’ In the United States, the King’s parens patriae authority passed to the state governments.
See Hawaii v. Standard Oil Co., 405 U.S. 251, 257 (1972). The United States Supreme Court
recognized long ago that, to sue under parens patriae, the governmental body must have had some
interest apart from those of its individual citizens. See Alfred L. Snapp & Son, Inc. v. Puerto Rico
ex rel. Barez, 458 US, 592, 607 (1982);* Pennsylvania v. West Virginia, 262 U.S. 553, 564 (1923).
This separate interest ensures that the suit will be prosecuted vigorously. Additionally, the
governmental body must act to protect the “substantial portion” ofits populace. See id. at 592; see
also, Louisiana v. Texas, 176 U.S. 1, 28 (1900) (Brown, J. concurring) (dismissing case where state
was not the proper party plaintiff). This requirement ensures that the public’s resources are not
squandered to aid only a discrete number of litigants. See, e.g., State ex rel. Barker v. Chicago &
ALR. Co., 178S.W. 129, 138 (1915) (stating that public funds shouid not be used in private disputes).
Consequently, in certain circumstances, the authority to sue parens patriae in federal court, such as

to protect the state’s populace from discrimination, is exclusively limited to the states,

; See West Virginia v. Chas. Pfizer & Co., 440 F.2d 1079, 1089 (2™ Cir. 1971) (noting that the
words purens patriae literally mean “parent of the country’).

, As set forth in Snapp, the threshold requirements for bringing and maintaining an action
purens patriae contemplate that “the State must articulate an interest apart from the interests of
particular private parties, i.e., the State must be more than a nominal party” and “the State must
express a quasi-sovereign interest.” /d. at 607. The Supreme Court recognizes that “the articulation
of such interests is a matter for case-by-case development,” but identifies “two general categories”
of legitimate concern for the State: “First, a State has a quasi-sovereign interest in the health and
well-being—both physical and economic — of its residents in general. Second, a State has a quasi-
sovereign interest in not being discriminatorily denied its rightful status within the federal system.”
fd. al 607. With regard to the former, “the indirect effects of the injury must be considered as well
in determining whether the State has alleged injury to a sufficiently substantial segment of its
population.” /e.
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commonwealths and territories. See, e.g., Estados Unidos Mexicanos v. Decoster, 1991 WL 636438,
at *3 (D. Me. Aug, 9, 1999).

Originally, while the States exercised their common law parens patriae authority essentially
in a police capacity to protect the health, welfare, and safety of their citizens,’ the States, through
their respective Offices of the Attorneys General, have expanded their use of parens patriae
authority to protect their citizens in all matters in which their citizens have been harmed, or
threatened with harm. Courts have allowed such actions in recognition that the States, through their
parens patriae authority, are in the best position to protect large numbers of citizens who may be
either unwilling or unable to protect themselves, due to the legal complexity of pursuing a claim or
the relatively small nature of their individual interests.'°

Describing the peculiar nature of the State’s interest in litigation on behalf of its consumers,
the Supreme Court remarked in one case involving Pennsylvania:

The private consumers in each State not only include most of the
inhabitants of many urban communities but constitute a substantial
portion of the State’s population. Their health, comfort and welfare
are seriously jeopardized by the threatened withdrawal of the gas

from the interstate stream. This is a matter of great public concern in
which the State, as the representative of the public, has an interest

» See, ¢.g., Georgia v. Tennessee Copper Co., 206 U.S. 230, 238-9 (1907) (discussing action
to enjoin air pollution); Kansas v. Colorado, 185 U.S. 125, 145-47 (1902) (discussing action to
enjoin water diversion); Missouri v. llinois, 180 U.S. 208, 248 (1901) (discussing action to enjoin
sewerage discharges into a river); Louisiana v. Texas, 176 U.S. 1, 22 - 23 (1899) (allowing
quarantine of imported goods assertedly to prevent spread of communicable disease).

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See, e.g. Tennessee Copper Co., 206 U.S. at 238-39 (declaring the state to be the appropriate
plaintiffon behalf of citizens); Kansas, 185 U.S. at 142 (“that suits brought by individuals, cach for
personal injuries, threatened or received, would be wholly inadequate or disproportionate, receives
no arguments”); Missouri, 180 U.S, at 241 (declaring that suits brought by individual plaintiffs
would be “wholly inadequate”); Louisiana, 176 U.S. at 28 (stating that individual citizens are not
proper plaintiffs),
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apart from that of the individuals effected. It is not merely a remote

or ethical interest but one which is immediate and recognized by

law.”
Pennsylvania v. West Virginia, 262 U.S. 553, 592 (1923). Thus, the exclusive right of States, by and
through their Attorneys General, to proceed on behalf of consumers in areas in which their citizens’
health, comfort and welfare are seriously jeopardized or actually harmed — such as in the area of
health care whereby drug companies have taken advantage of the citizens through their unlawful

pricing, marketing and sales practices — is beyond doubt.

2. The Specific Right of Pennsylvania to Proceed Parens Patriae

The Attorncy General of Pennsylvania possesses the clear authority to assert claims parens
patriae on behalf of Pennsylvania citizens, and he has chosen to do so in “AWP litigation.”

The Commonwealth of Pennsylvania has a iong history of parens patriae authority which
has been recognized by the United States Supreme Court. See Pennsylvania v. New Jersey, 426 U.S.
060, 665, 96 S.Ct. 2333, 49 L.Ed.2d 124 (1976) (wherein the Court held that “a State has standing
to sue [under parens patriae]... when its sovereign or quasi-sovereign interests are implicated and
tt is not merely litigating as a volunteer the personal claims of its citizens.”) Most recently, in
Broselow vy. Fisher, 319 F.3d 605 (3d Cir, 2003), the Court of Appeals for the Third Circuit
dismissed a case brought on behalf of a class of Pennsylvania Medicaid recipients against then-
Attorney General Mike Fisher and other state officers regarding the Tobacco Settlement. The federal
trial judge dismissed the case and, on appeal, the Third Circuit affirmed the lower court’s dismissal
decision, upholding the Commonwealth’s authority to bring claims parens patriae. In reaching that
dismissal, the Third Circuit looked to the Supreme Court’s reasoning in the Alfred L. Snapp case,

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In numerous instances both the federal and state courts have upheld the right of the
Pennsylvania Attorney General to exercise his parens patriae authority to protect the rights of
Pennsylvania citizens. See, e.g., Pennsylvania v. Porter, 659 F.2d 306, 314-6 (3d Cir. 1981);
Commonwealth v. Russell Stover Candies, Civ.A.No. 93-1972, 1993 WL 145264, at *7 (E.D. Pa.
May 6, 1993) (“A state can sue as parens patriae for the protection of its people or its general
economy.”); Commonwealth ex rel, Fisher v. Phillip Morris, Inc.,, 736 A.2d 693, 701-02 (Pa.
Commw.Ct 1999); fa the Interest of K.B., 432 Pa. Super. 586, 591 n. 11, 639 A.2d 798, 8G1 n. 11
(1994); Com. of Pennsylvania v. Budget Fuel Co., 122 F.R.D. 184 (E.D. Pa. 1988) (affirming the
“superiority” of the Pennsylvania Attorney General’s parens patriae authority vis-a-vis the rights of
civil class action plaintiffs to proceed under Rule 23); see also In re Lorazepam & Clorazpate
Antitrust Litig., 205 F.R.D. 369, 397 (D.D.C. 2002) (wherein the court, in approving a final
settlement, recognized the Commonwealth’s parens patriae authority to represent consumers in
litigation alleging state and federal antitrust violations).

B. THE LEGAL STANDARDS FOR CLASS CERTIFICATION

MDL Plaintiff Counsel bear the burden of demonstrating that the criteria set forth in Federal
Rule of Civil Procedure 23 have been met. See, e.g., Amchem Prods., Inc. v. Windsor, 521 U.S. 591,
613-15 (1997), Makue v. American Honda Motor Co., Inc., 835 F.2d 389, 394 (1st Cir. 1987). First,
plainuiffs must establish all four of the threshold requirements of Rule 23(a). See Feb. R. Civ. P.
23(a). The 23(a) requirement directly implicated by Pennsylvania’s challenge is “adequacy of
representation” which, as recently modified by the proscriptions of new Federal Rule 23(g), now
requires a heightened scrutiny by this Court of the qualifications of the lawyers who seek to be

appointed the exclusive counsel for the proposes Classes. In addition, as this Court knows, plaintiffs

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atso must demonstrate that certification of each of their three (3) proposed classes ts appropriate
under the more demanding requirements of Rule 23(b)(3), which requires that “a class action is
superior to other available methods for the fair and efficient adjudication of the controversy.” FED.
R. Civ. P. 23(b)(3); Amchem, 521 U.S. at 614. This “superiority” determination requires the Court
to weigh the advantages and disadvantages of the class action litigation device against all other
available alternatives, including parens patriae actions brought by State Attorneys General.'' See,
é.v., McLaughlin, 224 F.R.D. at 311-312.

To decide whether class certification 1s appropriate, fe. superior to all other reasonable
litigation alternatives, this Court must examine “the claims, defenses, relevant facts, and applicable
substantive law” and then consider how a tna] on the merits would be conducted. Castano v.,
American Tobacco Co., 84 F.3d 734, 744 (Sth Cir. 1996); accord Waste Mgmt. Holdings, Inc. v.
Mowbray, 208 F.3d 288, 295 (1st Cir. 2000) (citing Castanga). In doing so, the Court cannot simply
rely on plaintiffs’ bald assertions of “superiority”, it must probe beyond the pleadings in order to
“formulate some prediction as to how specific issues will play out in order to determine whether

common or individual issues predominate....” Mowbray, 208 F.3d at 298. If significant elements of

'! Although MDL Plaintiff Counsel originally had sought certification of a Rule 23(b)(2)
mandatory declaratory judgment class in their Amended Complaint, see AMCC 4 603, they appear
to have abandoned that request in favor of Rule 23(b)(3) damages classes only. Accordingly, while
there is no reason to examine the many reasons why a mandatory class would be inappropriate in this
casc in light of the pending Attorney General cases which continue to seek both declaratory and
injunctive relief for consumers, it is important to note that now only the Attorneys General seek such
equitable remedies against the drug companies for their unlawful pricing, marketing and sales
practices. This distinguishing characteristic is critical to this Court’s determinations of both the
adequacy of the proffered Class Counsel to protect and advance all the interests of the members of
ihe proposed classes (including their interest in obtaining declaratory and injunctive relief) and the
superiority of the class action device, now that equitable relief has been abandoned.

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a claim or defense require individualized proof from each class member, class certification is
inappropriate. See Amchem, 521 U.S. at 624.

indeed, the First Circuit has made clear that the district court should “test disputed premises
early on if and when the class action would be proper on one premise but not another.” Tard/ff v.
Knox County, 365 F.3d 1, at 4-5 (1st Cir. 2004); see also Gariety v. Grant Thornton LLP, 368 F.3d
356, 365 (4th Cir. 2004) (holding that district court’s reliance on plaintiff's assertions did not satisfy
requirement that it conduct a rigorous analysis of Rule 23 requirements), Although the Defendants
have challenged the wisdom of employing the class action device in this case, they have not. in turn,
provided this Court any reasonable alternative to managing the boaa fide claims of the many class
members, short of opening the litigation floodgates to millions of individual lawsuits. In other
words, Defendants co not offer this Court a “superior” litigation alternative to either the unwieldy
nationwide classes proposed by the MDL Plaintiff Counsel (on the one hand) or millions of separate
individual lawsuits predicted by them (on the other).

In stark contrast to the Defendants’ prognostications that the requisite “rigorous analysis” of
plaintitfs’ class certification petition “leads to the inescapable conclusion that [the claims] are not
susceptible to class treatment”, and therefore a legal dead-end for the consumers in this country,
Pennsylvanta suggests to this Court that a reasonable alternative path to judgment already lies in the
state court litigation being prosecuted by the State Attorneys General. In the past, through its
multiple remand decisions and otherwise, this Court has demonstrated its willingness to defer to the
sovereign power of the States and state courts to properly adjudicate the claims of consumers being
pursued by the Attorneys General. All Pennsylvania seeks by its opposition herein is an affirmance

of that deference.

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Cc, THE LACK OF “ADEQUACY OF REPRESENTATION” FOR THE PROFFERED CLASSES
SHOULD LEAD THIS COURT TO DEFER TO THE STATE ATTORNEYS GENERAL.

The touchstone for the due process treatment of absent class members is adequacy of
representation. /unsberry v. Lee, 311 U.S. 32, 42-43 (1940). Adequate representation is a fiduciary
obligation that demands the protection of class members’ interests through the class representative’s
vigorous advocacy.”

Adequate representation is also a constitutional requirement. “[It] is the foundation of all
representative actions ....” Jn re G.M. Corp. Engine Interchange Litig., 594 F.2d 1106, 1121 (7th Cir.
1979), citing Hansberry vy. Lee, 311 U.S. 32, 61 S.Ct 115, 85 L.Ed. 22 (1940). See Walker, 175
F.R.D. at 231 ([t]he bedrock consideration for the court in any certification decision is ‘whether a
proposed class has sufficient unity so that absent members can fairly be bound by decisions of class
representatives”). The federal courts have long recognized that adequate representation is mandated
by due process. Susman v. Lincoln American Corp., 561 F.2d 86, 89-90 (7th Cir. 1977) (“due
process requires that absent class members be adequately represented in order to be bound by a
court’sjudgment”). See also, Nat. Assoc. of Regional Medical Programs. v. Mathews, 551 F.2d 340,

346 (D.C. Cir. 1977) (“adequacy of class representation has a constitutional dimension’).

@ “A class representative, by assuming a representative role on behalf of the absent class

members, accepts a fiduciary obligation toward the class that may not be abandoned at will or by
agreement with the defendant if prejudice to the absent class members would inhere ....” Blanchard
v. Edgemark Financial Corp., 175 F.R.D. 293, 298 (N.D. ILL. 1997). See also, Cohen vy. Beneficial
Indus. Loan Corp., 337 U.S, 541,549, 69S.Ct. 1221, 1227, 93 L.Ed. 1528 (1949) (emphasis added).
Indeed, the class representative must continue to satisfy those fiduciary obligations even after the
resolution of the litigation. Doe v. Heckler, 580 F. Supp 1224, 1229 (D. Md. 1984) (“[T]he fiduciary
responsibility undertaken by the class representatives and their counsel to assure that the rights of
unnamed class members are adequately represented ... does not end on the day a judgment is handed
down”).

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Before a class may be certified, Fed. R. Civ. P. 23(a)(4) requires that the district court find
that “the representative parties will fairly and adequately protect the interests of the class.” In order
to be deemed adequate, “‘a class representative must be part of the class and possess the same interest
and suffer the same injury as the class members.” Amchem, 521 U.S. at 625-26, 117 S.Ct. at 2250-
51. Similarly, the class representative’s personal claim must not be inconsistent with the claims of
other members of the class. id."°

1. There are No Adequate Representative Plaintiffs for the Part B Class.

There are two significant deficiencies in the representation of the proposed Part B Class: (1}
there presently exist no representatives of the Part B Class, and (2) there are no Part B Class present
or proposed representatives from either Pennsylvania or any of the Joinder States. Since it is the
burden of the representative plaintiffs to satisfy this Court that they are adequate to represent the
sprawling nationwide classes, their failure to do so is fatal to their application for class certification.

First, as defendants point out in their opposition papers, there exists a serious deficiency in

the adequacy of the representation of the Medicare Part B Class because there are no Medicare Part

B class representatives. While there used to be several putative Part B representatives in this MDL

proceeding, for reasons unknown to Pennsylvania or the Joinder States, they were dismissed

° A class representative’s interest in the litigation cannot be hypothetical. Courts are charged

with ensuring that the “‘representative’ in a class action is not a fictive concept,” and that the “suit
stems from real grievances of real persons ...” Rand v. Monsanto Co., 926 F.2d 596, 599 (7th Cir.
1991). A class representative must have a real stake in the claims of the class. “A class
representative must be part of the class and possess the same interests and suffer the same injury as
the class members ..... Moreover, if none of the named plaintiffs purporting to represent a class
establishes the requisite of a case or controversy with the defendant, none may seek relief on behalf
of himself or any other member of the class.” Davis v. Ball Mem. Hosp., 753 F.2d 1410, 1420 (7th
Cir. 1985), citing Eust Texas Motor Freight Syst., Inc. v. Rodriguez, 431 U.S. 395, 403, 97 S.Ct.
1891, 1896, 52 L.Ed.2d 453 (1977), and O ‘Shea v. Littleton, 414 U.S, 488, 494, 94 S.Ct. 669, 675,
38 L.Ed.2d 674 (1974).

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voluntarily from the case by the MDL Plaintiff Counsel. Rather than account for this voluntary
dismissal which has directly led to present deficiencies in the Part B Class representation, MDL
Plaintiff Counsel sirmply brush aside such criticism with a nondescript offer to provide purported
“substitute” Part B Class representatives, should the Court desire them. However, there are no
existing Part B Class representatives for which to “substitute” new ones, since the MDL Plaintiff
Counsel have chosen not to proffer any. Consequently, and respectfully, it is not an appropriate
function for this Court to search for adequate Part B Class representatives; rather, the Court’s task
is to judge whether the representatives proposed by Class Plaintiffs meet the requirements of Rule
23(a)(4). Having failed to proffer any representatives of the Part B Class, let alone ones who pass
muster as “adequate,” MDL Plaintiff Counsel have failed to carry their burden on this class
prerequisite.

Second, there are no proffered Part B Class representatives from either Pennsylvania or any
of the Jomnder States. Such deficiency raises particular concerns for the Attorneys General about the
willingness and ability of the named MDL Plaintiff Counsel to adequately represent the interests of
consumers who reside in Pennsy!vania and the Joinder States. The significant differences in the laws
of the States, which led Judge Young of this Court to deny the nationwide class certification

requested by the same counsel who seek it here,'* warrants this Court’s similar strict scrutiny of the

" Obviously, there is a problem with the representation of the Part B Class. But a half-hearted

offer, provided only at the eleventh-hour and after an appropriate criticism has been lodged by
defendants, is not the appropriate answer for a glaring problem the MDL Plaintiff Counsel failed to
catch themselves in their initial moving papers. The failure to provide this Court with a proper
evidentiary record to find an adequacy of representation, when combined with the voluntary
dismissal of the claims of Part B class representatives, simply raises more concerns about adequacy
of representation of the proposed classes than it answers.

= In re Relafen Antitrust Litig., 221 F.R.D. 260 (D. Mass. 2004).

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